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      6                                                             OF
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      8
                                UNITED STATES DISTRICT COURT
      9                       CENTRAL DISTRICT OF
                                                  CALIFORNIA
 io
 it        UNITED STATES OF AMERICA,
                                                    Case No.
 12
                              Plaintiff,
 13                                                 ORDER OF DETENTION AFTER
                 v.                                 HEARING
 14
                                                    [Fed.R.Crim.P. 32.1(A)(6);
 15
          ~~e'►'~ ~nes~lb ~G~ ue..S                 18 U.S.C. § 3143(A)]
 16
                             Defendant.
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 is
19              The defendant having been arrested
                                                       in this District pursuant to a
                                                                                      warrant
20        issued by the United States
                                      District Court for the   ~'~'~~ ~ ~~n ~ ~~p, },~jf ~,~
21        for alleged violations) of the
                                              terms and conditions of his/her ~n
22        [supervised release]; and

23              The Court having conducted a
                                               detention hearing pursuant to Federal Rule
                                                                                          of
24        Criminal Procedure 32.1(a)(6) and
                                            18 U.S.C. § 3143(a),
25              The Court finds that:
26        A•   ()    The defendant has not met his/her burden
                                                                of establishing by clear and
27             convincing evidence that he/she is
                                                    not likely to flee if released under 18
2s             U.S.C. § 3142(b) or (c). This finding is
                                                        based on C✓)~~~           Y'id fa1~i
          Case 2:18-cr-00100-GW Document 56 Filed 10/19/21 Page 2 of 2 Page ID #:317
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          2.                   ~~~'      prt~ ~t%Iwos ~{s Q~~
                                                            ' `'
          3

          4          and/or
          5    B.    ~f     The defendant has not met his/her burden of establishing by clear and
          6          convincing evidence that he/she is not likely to pose a danger to the safety of
                     any other person or the community if released under 18 U.S.C. § 3142(b) or
          s         (c). This finding is based on:    ~r~'~ ~^~-1 ~1~ 5~~~     r
          9                 ~~5~~                     ~i~ea~~-         s                 ~~
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     13              IT THEREFORE IS ORDERED that the defendant be detained pending the
     14        further revocation proceedings.
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     16        Dated: 1~l~ ~` D~~~
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                                                         ALEXANDER F. MacKINNON
     20                                              UNITED STATES MAGISTRATE JUDGE
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